                     Case 1:00-cr-05209-LJO Document 716 Filed 11/05/14 Page 1 of 2
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
              XAVIER MEDRANO
                      (Defendant’s Name)                                  Criminal Number: 1:00CR05209-008 LJO


                                                                          Karen Lynch
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charges 1, 2, 3 as alleged in the violation petition filed on 06/30/2014 .
[]  was found in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):
Violation Number                     Nature of Violation                                     Date Violation Occurred
Charge 1                             UNLAWFUL USE OF A CONTROLLED                            05/06/2014
                                     SUBSTANCE
Charge 2                             FAILURE TO MAKE FINE PAYMENTS AS                        Released on 07/05/2013 (only 4
                                     DIRECTED                                                payments made)
Charge 3                             FAILURE TO SUBMIT TRUTHFUL AND                          03/2014 AND 04/2014
                                     COMPLETE MONTHLY REPORT FORMS

The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 04/04/2002 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[X ]     Appeal Rights GIVEN.

         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                                          November 3, 2014
                                                                                    Date of Imposition of Sentence


                                                                                        /s/ Lawrence J. O’Neill
                                                                                      Signature of Judicial Officer


                                                                       LAWRENCE J. O’NEILL, United States District Judge
                                                                              Name & Title of Judicial Officer


                                                                                            November 5, 2014
                                                                                                 Date
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:               1:00CR05209-008 LJO                                                                 Judgment - Page 2 of 2
DEFENDANT:                 XAVIER MEDRANO


                                                        IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 9 Months .



[U]      No TSR: Defendant shall cooperate in the collection of DNA.

[U]      The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends that the defendant be incarcerated at Taft, California facility, but only insofar as this
         accords with security classification and space availability.


[]       The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[U]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [U] before 12:00PM on 2/2/2015 .

         ***The defendant shall continue to follow all previously ordered conditions until he surrenders to the U.S. Marshal.

         [U] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL



                                                                                        By
                                                                                                       Deputy U.S. Marshal
